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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
                Plaintiff,                     :   CASE NO. 21-CR-161 RBW
                                               :
       v.                                      :
                                               :
DUSTIN BYRON THOMPSON,                         :
                                               :
                Defendant.                     :

       DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTIONS IN LIMINE

       Defendant Dustin Byron Thompson, through undersigned counsel and pursuant to the

Court’s Orders of January 27, 2022 (Doc. 51) and February 25, 2022 (Doc. 60), respectfully

submits the following response to the government’s motions in limine.

                                               Respectfully submitted,

                                               /s/ Samuel H. Shamansky__________________
                                               SAMUEL H. SHAMANSKY CO., L.P.A.

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                                               Counsel for Defendant
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                                            RESPONSE

       The government has requested that Defendant be prohibited from eliciting evidence or

making arguments pertaining to certain defenses, (Doc. 54), and sought leave to present certain

evidence that might be admissible for a limited purpose under Fed. Evid. R. 404(b). (Doc. 55).

Defendant does not generally oppose the requested preliminary rulings and therefore did not file a

memorandum in opposition. However, given the Court’s recent Order, he will clarify his position.

                                        Motions In Limine

       While neither the Federal Rules of Criminal Procedure nor the Federal Rules of Evidence

expressly provide for motions in limine, the Court may allow such motions “pursuant to the district

court’s authority to manage the course of trials.” Luce v. United States, 469 U.S. 38, 41 n.4, 105

S.Ct. 460, 83 L.Ed.2d 443 (1984). The purpose of allowing these motions is to “narrow the

evidentiary issues for trial and to eliminate unnecessary trial interruptions.” Graves v. District of

Columbia, 850 F.Supp.2d 6, 10 (D.D.C. 2011). Such rulings are preliminary in nature and may be

revisited at any time; as such, “in some instances it is best to defer rulings until trial, [when]

decisions can be better informed by the context, foundation, and relevance of the contested

evidence within the framework of the trial as a whole.” Casares v. Bernal, 790 F.Supp.2d 769, 775

(N.D.Ill. 2011); see also, Luce, 469 U.S., at 41-42

                                              Defenses

       The government contends that Defendant has provided no notice of either an alibi or

insanity defense, and further asserts that any arguments to the jury pertaining to potential sentences

or soliciting nullification are inappropriate as a matter of law. Defendant does not dispute these

claims, nor does he intend to assert any such arguments at trial. As such, he does not oppose a

preliminary order to that effect.



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                                         Other Acts Evidence

        Defendant does not concede that the “other acts” evidence referenced by the government

will necessarily be admissible at trial, nor that his “knowledge” as to the illegality of trespassing

is relevant. However, he does acknowledge that this evidence could potentially be relevant as to

an absence of mistake. As such, Defendant does not oppose a preliminary order but does reserve

the right to readdress “other acts” evidence at trial after its probative value, or lack thereof, is better

established.

                                                     Respectfully submitted,

                                                     /s/ Samuel H. Shamansky__________________
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                                                     Counsel for Defendant

                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was filed with the Clerk of

Court for the United States District Court for the District of Columbia using the CM/ECF system,

which will send notification of the filing to Assistant United States Attorneys William Dreher, 700

Stewart Street, Suite 5220, Seattle, WA 98101, and Jennifer M. Rozzoni, 203 3rd Street, Suite 900,

Albuquerque, NM 87102, on February 28, 2022. An additional copy has been delivered via

electronic mail.

                                                     /s/ Samuel H. Shamansky__________________
                                                     SAMUEL H. SHAMANSKY




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